Case 2:20-cr-00055-LMA-KWR Document 364-2 Filed 07/06/22 Page 1 of 6




                                                                GOVERNMENT
                                                                  EXHIBIT

                                                                       1
Case 2:20-cr-00055-LMA-KWR Document 364-2 Filed 07/06/22 Page 2 of 6
Case 2:20-cr-00055-LMA-KWR Document 364-2 Filed 07/06/22 Page 3 of 6
Case 2:20-cr-00055-LMA-KWR Document 364-2 Filed 07/06/22 Page 4 of 6
Case 2:20-cr-00055-LMA-KWR Document 364-2 Filed 07/06/22 Page 5 of 6
Case 2:20-cr-00055-LMA-KWR Document 364-2 Filed 07/06/22 Page 6 of 6
